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 1   ANTHONY P. CAPOZZI, CSBN: 068525
     LAW OFFICES OF ANTHONY P. CAPOZZI
 2   1233 W. SHAW AVE., SUITE 102
     FRESNO, CALIFORNIA 93711
 3   PHONE: (559) 221-0200
     FAX: (559) 221-7997
 4   EMAIL: Anthony@capozzilawoffices.com
     www.capozzilawoffices.com
 5
 6   ATTORNEY FOR Defendant,
     JUSTIN MICHAEL BOYAJIAN
 7
 8                               UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10                                                ******

11   UNITED STATES OF AMERICA,                            Case No.: 1:16-CR-00072-2 LJO
12                 Plaintiff,                             STIPULATION AND ORDER TO
13          v.                                            CONTINUE SENTENCING (See Changed
                                                          Date)
14
15   JUSTIN MICHAEL BOYAJIAN,                             Date: March 12, 2018
                                                          Time: 10:00 a.m.
16                 Defendant.                             Courtroom: 4
                                                          Hon. Lawrence J. O’Neill
17
18   TO:    THE HONORABLE COURT AND TO THE UNITED STATES ATTORNEY:
19          Defendant, Justin Boyajian, by and through his attorney of record, Anthony P. Capozzi,
20   and the United States Attorney by and through Kimberly Sanchez, hereby stipulate as follows:
21          1.     By previous order, this matter was set for sentencing on March 12, 2018, at
22   10:00 a.m.
23          2.     The parties agree and stipulate that Defendant requests this court to continue the
24   sentencing until April 23, 2018, at 8:30 a.m.
25          3.     The parties agree and stipulate, and request that the Court find the following:
26                 a.      The Defendant pled guilty on November 30, 2017.
27                 b.      Defense counsel filed Formal Objections to the Presentence Investigation
28          Report on February 26, 2018. (Doc. 57)



                                                         1
                                  STIPULATION AND ORDER TO CONTINUE SENTENCING
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 1                 c.      The Government responded to the Defendant’s Formal Objections on
 2          March 2, 2018, and a revised final Presentence Investigation Report was filed on March
 3          5, 2018. (Docs. 58 and 59)
 4                 d.      Defense counsel needs additional time to review the Government’s
 5          response and the revised final Presentence Investigation Report.
 6                 e.      The Government does not object to this continuance.
 7
 8   IT IS SO STIPULATED.
 9                                             Respectfully submitted,

10   DATED:        March 7, 2018         By: /s/Kimberly A. Sanchez
                                             KIMBERLY A. SANCHEZ
11                                           Assistant United States Attorney
12
13
     DATED:        March 7, 2018         By: /s/ Anthony P. Capozzi
14                                           ANTHONY P. CAPOZZI
                                             Attorney for Defendant JUSTIN MICHAEL
15                                           BOYAJIAN
16
17
18                                               ORDER

19          For reasons set forth above, the continuance requested by the parties is granted for good

20   cause, except for the date. There is nothing new or complex about the Government’s response,

21   nor the few changes in the PSR. April is too long a continuance.

22          IT IS ORDERED that the sentencing currently scheduled for March 12, 2018, at 10:00

23   a.m. is continued to March 26, 2018, at `10:30 a.m.

24   IT IS SO ORDERED.

25      Dated:    March 7, 2018                              /s/ Lawrence J. O’Neill _____
26                                                 UNITED STATES CHIEF DISTRICT JUDGE

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                                 STIPULATION AND ORDER TO CONTINUE SENTENCING
                                         CASE NO.: 1:16-CR-00072-2 LJO
